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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 TY KEMPTON, individually, and on
 behalf of all others similarly situated,
               Plaintiff,                    Case No.

 v.                                          Hon.

 LIFE FOR RELIEF AND                         CLASS ACTION COMPLAINT
 DEVELOPMENT, a California                   DEMAND FOR JURY TRIAL
 nonprofit corporation,

               Defendant.


                            CLASS ACTION COMPLAINT

      Plaintiff Ty Kempton (“Kempton” or “Plaintiff”) brings this Class Action

Complaint and Demand for Jury Trial against Defendant Life for Relief and

Development (“Life for Relief” or “Defendant”) to stop Life for Relief from

violating the Telephone Consumer Protection Act by sending autodialed text

messages to consumers who have opted out of receiving autodialed text messages,

and to obtain injunctive and monetary relief for all persons injured by Life for

Relief’s conduct. Plaintiff, for his Complaint, alleges as follows upon personal

knowledge as to himself and his own acts and experiences, and, as to all other

matters, upon information and belief, including investigation conducted by his

attorneys.
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                                  INTRODUCTION

         1.    Life for Relief is a non-profit corporation that purportedly provides

aid to countries in Afghanistan, Iraq, Jordan, Lebanon, Pakistan and Syria.1

         2.   The CEO of Life for Relief is Khalid Turaani, a controversial figure

who, among other things, has been involved in events involving radical Islamists

from Al Qaeda, Hamas, Hezbollah and Islamic Jihad.2 Life for Relief itself has

come into question over its “troubling connections to Islamist extremists.”3

         3.   In 2015 Life for Relief, received $51 Million in contributions. That

same year, Life for Relief executives agreed to pay a civil penalty of $780,000

because they “knowingly and willfully formed a conspiracy for the purpose of

transferring funds from the United States to Iraq.”4

         4.   Life for Relief uses text message marketing to solicit donations, and

continues to send solicitous text messages to consumers even after those

consumers have expressly requested that Defendant stop texting them.

         5.   In Plaintiff’s case, Life for Relief sent approximately 20 unsolicited,

unwanted autodialed text messages to his cellular phone, despite multiple requests

that Defendant stop texting.




1
  http://www.lifeusa.org/about
2
  http://www.discoverthenetworks.org/individualProfile.asp?indid=1495
3
  https://www.meforum.org/articles/2018/life-goes-on-for-embattled-islamist-charity
4
  https://www.treasury.gov/resource-center/sanctions/CivPen/Documents/20150325_lrd.pdf
                                                                                         2
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         6.      In response to these text messages, Plaintiff files this lawsuit seeking

injunctive relief, requiring Defendant to cease sending unwanted text messages to

consumers’ cellular telephone numbers using an automatic dialing system without

consent , as well as an award of statutory damages to the members of the Class and

costs.

                                         PARTIES

         7.      Plaintiff Kempton is a Gilbert, Arizona resident.

         8.      Defendant Life for Relief is a California nonprofit corporation

headquartered in Southfield, Michigan. Defendant conducts business throughout

this District, the State of Michigan, and throughout the United States.

                             JURISDICTION AND VENUE

         9.      This Court has federal question subject matter jurisdiction over this

action under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer

Protection Act, 47 U.S.C. §227 (“TCPA”).

         10.     This Court has personal jurisdiction over Defendant and venue is

proper in this District under 28 U.S.C. § 1391(b) because Defendant is registered

with the State of Michigan as a foreign non-profit corporation and headquartered in

this District, and because the wrongful conduct giving rise to this case occurred in

this District.




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                           COMMON ALLEGATIONS

  Life for Relief Solicits Donations by Placing Autodialed Text Messages to
  Consumers’ Cellular Phone Numbers Without Consent Even After Being
                                  Told to Stop

      11.    In violation of this TCPA, Defendant sends autodialed text messages

to consumers even after those consumers have requested that the texts stop.

      12.    In sending the unsolicited text messages at issue, Defendant, or a third

party acting on its behalf, used an automatic telephone dialing system; hardware

and/or software with the capacity to store or produce cellular telephone number to

be called, using a random or sequential number generator. This is evident from the

circumstances surrounding the text messages, including the ability to trigger an

automated response by replying “STOP,” the text messages’ commercial and

generic content, that substantively identical texts were sent to multiple recipients,

and that they were sent from a short code, which is consistent with the use of an

automatic telephone dialing system to send text messages.

      13.    Life for Relief utilizes services such as SimpleTexting to conduct text

message campaigns using an autodialing system. Plaintiff received text messages

from shortcode 555-888. This shortcode is owned by SimpleTexting:




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         14.   SimpleTexting openly advertises the capacity of its platform to send

automated text messages, and text messages sent in a “text blast”6 to multiple

recipients:




                                                              7



         15.   Not surprisingly, there are numerous online complaints about

Defendant Life for Relief’s autodialed text messages to consumers who never gave


5
  https://simpletexting.com/features/
6
  id
7
  https://simpletexting.com/features/group-text-from-phone/
                                                                                      5
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consent to be texted and who specifically demanded that Life for Relief stop

texting:

      • “Never subscribed to anything.Not interested! Stop!”8

      • “Spammed for a donation to http://www.lifeusa.org”9

      • “Received a text message about Eid Mubarak from this shortcode.

         Lifeusa.org? I’ve never heard of them. Right after that, I got another text,

         despite replying Stop.”10

                           PLAINTIFF’S ALLEGATIONS

     Life for Relief Repeatedly Texted Plaintiff’s Cell Phone Number Without
    Plaintiff’s Consent, Even After Plaintiff Expressly Requested that Defendant
                                    Stop Texting

         16.    In the latter part of 2017, Plaintiff began receiving unsolicited,

autodialed text messages from Defendant. In response, Plaintiff replied “Stop” but

Defendant Life for Relief continued to send him text messages.

         17.   Plaintiff has received approximately 20 unsolicited, autodialed texts.

         18.   For example, on June 16, 2018 at 5:45 am, Plaintiff received an

unsolicited, autodialed text from Defendant using SMS shortcode 545-454 stating,

“Eid Mubarak to you and your family from Life for Relief and Development.

Please visit us at lifeusa.org. http://www.lifeuse.org/worldcup Reply stop to

stop[.]”

8
  http://shortcodes.org/uncategorized/545454-short-code/
9
  id
10
   http://shortcodes.org/uncategorized/555888-short-code/#comment-11934
                                                                                        6
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      19.    On August 16, 2018 at 7:41 am, Plaintiff received another unsolicited,

autodialed text message from Defendant again using SMS shortcode 545-454

stating, “LIFE would like to wish you and your family blessed days.To participate

in our Udhiyah/Qurabni program, please visit us at www.lifeuse.org.

ReplySTOPtoStop[.]”

      20.    Plaintiff then received another unsolicited, autodialed text message

from Defendant using SMS shortcode 545-454 on August 20, 2018 stating, “Eid

Mubarak to you and your family, Life is taking Udhiyah/Qurbani donations until

the 3rd day of Eid. Plz Call 1800 8273543 or visit lifeusa.org Reply stop to stop[.]”

      21.    Plaintiff replied “Stop” to the August 20, 2018 text message after

receiving it, and received no confirmation that he was unsubscribed.

      22.    In fact, Plaintiff replied with “Stop” multiple times prior to that in an

attempt to get the text messages stopped, but they continued to be sent. Frustrated

by all the unwanted, unsolicited, autodialed text messages he was receiving,

Plaintiff called Life for Relief and spoke with the receptionist, asking her to get his

phone number removed from the text message list. The receptionist first told

Plaintiff that they could not remove his phone number from their system, then

forwarded Plaintiff to a prerecorded message.

      23.    Plaintiff does not have a relationship with Life for Relief or any of its

affiliated companies, nor has he ever requested that Life for Relief send him text

messages, or consented to any contact from Defendant. To the contrary, Plaintiff
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has specifically demanded that Life for Relief stop texting, and Life for Relief has

ignored these demands and continued to do so.

      24.    The unauthorized text messages sent by Life for Relief, as alleged

herein, have harmed Plaintiff in the form of annoyance, nuisance, and invasion of

privacy, and disturbed Kempton’s use and enjoyment of his phone, in addition to

the wear and tear on the phones’ hardware (including the phones’ battery) and the

consumption of memory on the phone.

      25.    Seeking redress for these injuries, Kempton, on behalf of himself and

the Class of similarly situated individuals, brings suit under the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq., which prohibits unsolicited

autodialed text messages to cellular telephones.

                             CLASS ALLEGATIONS

Class Treatment Is Appropriate for Plaintiff’s TCPA Claims Arising From
Text Messages sent by, or on Behalf of Life for Relief

      26.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated

and seeks certification of the following Class:

      Autodialed Stop Class: All persons in the United States who from a
      date four years prior to the filing of the initial complaint to the present:
      (1) Defendant (or an agent acting on behalf of Defendant) texted, (2) to
      the person’s cellular telephone, (3) using the same equipment used to
      send text messages to Plaintiff, (4) after the person informed Defendant
      that s/he no longer wished to receive text messages from Defendant.



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      27.    The following individuals are excluded from the Class: (1) any Judge

or Magistrate presiding over this action and members of their families; (2)

Defendant, its subsidiaries, parents, successors, predecessors, and any entity in

which Defendant or its parents have a controlling interest and their current or

former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who

properly execute and file a timely request for exclusion from the Class; (5) the

legal representatives, successors or assigns of any such excluded persons; and (6)

persons whose claims against Defendant have been fully and finally adjudicated

and/or released. Plaintiff anticipates the need to amend the Class definitions

following appropriate discovery.

      28.    Numerosity: On information and belief, there are hundreds, if not

thousands of members of the Class such that joinder of all members is

impracticable.

      29.    Commonality and Predominance: There are many questions of law

and fact common to the claims of Plaintiff and the Class, and those questions

predominate over any questions that may affect individual members of the Class.

Common questions for the Class include, but are not necessarily limited to the

following:

             (a) whether Defendant utilized an automatic telephone dialing system
                 to send text messages to Plaintiff and the members of the Class;

             (b) whether Defendant sent autodialed text messages to Plaintiff and
                 the Class after being told to stop sending text messages;
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             (c) whether Defendant’s conduct constitutes a violation of the TCPA;
                 and

             (d) whether members of the Class are entitled to treble damages based
                 on the willfulness of Defendant’s conduct.

      30.    Adequate Representation: Plaintiff will fairly and adequately

represent and protect the interests of the Class, and has retained counsel competent

and experienced in class actions. Plaintiff has no interests antagonistic to those of

the Class, and Defendant has no defenses unique to Plaintiff. Plaintiff and his

counsel are committed to vigorously prosecuting this action on behalf of the

members of the Class, and have the financial resources to do so. Neither Plaintiff

nor his counsel has any interest adverse to the Class.

      31.    Appropriateness: This class action is also appropriate for

certification because Defendant has acted or refused to act on grounds generally

applicable to the Class and as a whole, thereby requiring the Court’s imposition of

uniform relief to ensure compatible standards of conduct toward the members of

the Class and making final class-wide injunctive relief appropriate. Defendant’s

business practices apply to and affect the members of the Class uniformly, and

Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

to the Class as wholes, not on facts or law applicable only to Plaintiffs.

Additionally, the damages suffered by individual members of the Class will likely

be small relative to the burden and expense of individual prosecution of the

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complex litigation necessitated by Defendant’s actions. Thus, it would be virtually

impossible for the members of the Class to obtain effective relief from Defendant’s

misconduct on an individual basis. A class action provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.

Economies of time, effort, and expense will be fostered and uniformity of

decisions will be ensured.

                         FIRST CAUSE OF ACTION
                    Telephone Consumer Protection Act
                         (Violation of 47 U.S.C. § 227)
             (On Behalf of Plaintiff and the Autodialed Stop Class)
      32.    Plaintiff repeats and realleges paragraphs 1-31 of this Complaint and

incorporates them by reference herein.

      33.    Defendant and/or its agents sent unwanted solicitation text messages

using an autodialer to cellular telephone numbers belonging to Plaintiff and the

other members of the Autodialed Stop Class after being told to stop texting.

      34.    Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a

result of Defendant’s conduct, Plaintiff and the other members of the Autodialed

Stop Class are each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of

$500.00 in damages for each violation of such act.

      35.    In the event that the Court determines that Defendant’s conduct was

wilful and knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of

statutory damages recoverable by Plaintiff and the other members of the

Autodialed Stop Class.
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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for

the following relief:

   a) An order certifying the Class as defined above; appointing Plaintiff as the

      representative of the Class; and appointing his attorneys as Class Counsel;

   b) An award of actual and/or statutory damages and costs;

   c) An order declaring that Defendant’s actions, as set out above, violate the

      TCPA;

   d) An injunction requiring Defendant to cease all unsolicited texting activity,

      and to otherwise protect the interests of the Class; and

   e) Such further and other relief as the Court deems just and proper.

                                  JURY DEMAND

      Plaintiff requests a jury trial.




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                                   Respectfully Submitted,

                                   TY KEMPTON, individually and on behalf
                                   of those similarly situated individuals


Dated: October 31, 2018            By: /s/ George Blackmore

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                                   *Pro Hac Vice motion forthcoming




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